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             IN THE UNITED STATES DISTRICT COURT
             FOR THE CENTRAL DISTRICT OF ILLINOIS
                     SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                  Plaintiff,             )
                                         )
     v.                                  )      Case No. 23-30002
                                         )
JOHNELL SMITH,                           )
                                         )
                  Defendant.             )

                         OPINION AND ORDER

SUE E. MYERSCOUGH, U.S. District Judge:

     This matter comes before the Court on the Report and

Recommendation of United States Magistrate Judge Karen

McNaught (d/e 44) on Defendant Johnnell Smith’s Motion to

Suppress (d/e 38). Defendant and the Government have timely

filed Objections to the Report and Recommendation. d/e 45, 46.

     A district judge reviews de novo any part of a magistrate

judge’s report and recommendation to which a specific written

objection has been made. Fed. R. Crim. P. 59(b); 28 U.S.C.

§ 636(b)(1). The Court has thoroughly reviewed Magistrate Judge

McNaught’s Report and Recommendation and the parties’

objections to the Report and Recommendation. For the reasons set


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forth below, the Court OVERRULES Defendant’s objections (d/e

45), SUSTAINS the Government’s objections (d/e 46), ACCEPTS and

ADOPTS the Magistrate Judge’s Report and Recommendation in

part and REJECTS it in part (d/e 44), and DENIES Defendant’s

Motion to Suppress (d/e 38).

                          I. BACKGROUND

     On December 2, 2022, a Criminal Complaint was filed in this

Court, followed by an Indictment on January 4, 2023. See d/e 1,

13. A grand jury charged Defendant with: (1) possession of 100

grams or more of heroin with intent to distribute in violation of 21

U.S.C. §§ 841(a)(1) and (b)(1)(B); (2) possession of 500 grams or

more of cocaine with intent to distribute in violation of 21 U.S.C. §§

841(a)(1) and (b)(1)(B); (3) possession of a firearm during and in

furtherance of a drug trafficking crime in violation of 18 U.S.C. §

924(c)(1)(A)(i); and (4) unlawful possession of a firearm by a

convicted felon in violation of 18 U.S.C. § 922(g)(1). See d/e 1. The

Indictment also contained a forfeiture allegation pursuant to 18

U.S.C. § 924(d). Id.

     On December 29, 2023, the Defendant filed a Motion to

Suppress. See d/e 38. Defendant seeks to suppress evidence


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seized during a search of his residence on November 30, 2022, as

well as statements made by him on November 30, 2022. See id.

     On February 12, 2024, the Government filed its response. d/e

41. On March 5, 2024, Defendant filed his reply. d/e 42. No

evidentiary hearing was held on Defendant’s Motion to Suppress,

despite the Magistrate’s attempt to do so on March 21, 2024. See

Minute Entry entered on March 21, 2024. On April 4, 2024,

Magistrate Judge McNaught made a Report and Recommendation,

in which she recommended the Court grant Defendant’s Motion to

Suppress in part and deny it in part. d/e 44. Specifically, Judge

McNaught recommended the Court suppress the detention of

Defendant, the search of his vehicle, and any statements made by

Defendant after he was stopped in his car on November 30, 222.

Id. at p. 18. Judge McNaught recommended Defendant’s Motion to

Suppress be denied as to the evidence found in the house pursuant

to the issuance of the search warrant. Id. Defendant and the

Government filed timely objections to the Report and

Recommendation. d/e 45, 46.

                               II. FACTS




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     Defendant had previously been sentenced to 120 months’

imprisonment for aiding and abetting the possession with intent to

distribute 100 grams or more of heroin in violation of 21 U.S.C. §§

841(a)(1) and (b)(1)(B) in United States v. Smith, Central District of

Illinois Case No. 15-30039. Defendant was released with

supervised release conditions on or about July 7, 2020, after the

Court granted Defendant’s request for compassionate release. Case

No. 15-30039, d/e 81, 89.

     On November 15, 2022, Russell Lehr, a Springfield Police

Officer assigned to the Drug Enforcement Administration (DEA) as a

Task Force Officer (TFO), took renewed interest in Defendant after

Defendant’s release from the Bureau of Prisons. d/e 41, Ex. 1, pp.

3–4. TFO Lehr was familiar with Defendant from a 2014 narcotics

investigation where Defendant was found in possession of a large

amount of heroin. Id. at p. 4.

     According to TFO Lehr’s affidavit, TFO Lehr and other task

force officers surveilled Defendant’s listed residence at 1210 N.

Bengel Street on November 15, 2022; November 16, 2022;

November 17, 2022; and November 20, 2022. d/e 41, Ex. 1, pp. 3–

5. On November 15, 2022, TFO Lehr and other officers observed


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Defendant exit the Bengel Street residence, travel to another home

on Montgomery Lane, and park in the driveway of said home for

approximately two to three minutes before leaving the

neighborhood. Id. at p. 4. The home was the residence of an

individual who had previously overdosed on heroin. Id. TFO Lehr,

based upon his training and experience, believed this conduct was

indicative of a narcotics transaction. Id.

     The officers continued to surveil Defendant as he went to an

apartment complex at 2210 E. Cook Street. An officer observed an

unknown black male exit the apartment, get into the passenger side

of Defendant’s vehicle, and remain in the vehicle for approximately

one to two minutes before returning to the apartment complex. Id.

Based upon this conduct, Defendant’s previous heroin sales, and

the experience of the officers, the officers believed Defendant was

engaging in narcotics transactions. Id.

     On November 16, 2022, TFO Lehr and other officers again

surveilled 1210 N. Bengel Street. Id. The officers observed an

unknown black male leaving the driveway of the house in a gold

Oldsmobile Coupe, headed westbound on North Grand Avenue. Id.

The vehicle pulled over to the north side of the intersection of


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Reservoir Avenue and North 9th Street. Id. TFO Lehr observed an

unknown white male exit the passenger seat of a Jeep Compass,

which had been parked in the same area. Id. The white male

walked to the passenger side of the Oldsmobile, where TFO Lehr

observed a hand-to-hand transaction. Id.

     On November 17, 2022, TFO Lehr observed the same

unknown black male who had been driving the gold Oldsmobile the

day before leave 1210 N. Bengel Street and drive to the same

intersection, where TFO Lehr observed the black male make a

hand-to-hand transaction with the occupants of the same Jeep

Compass. Id. at p. 5.

     On November 20, 2022, TFO Lehr and other officers again

surveilled 1210 N. Bengel Street. Id. Springfield Police Officer Sgt.

Wangard observed the unknown black male exit 1210 N. Bengel

Street and get into the gold Oldsmobile. Id. Suspecting the

unknown black male would again meet with the white male in the

Jeep Compass, Sgt. Wangard parked in the area of 9th Street and

North Grand Avenue. Id. TFO Lehr observed a hand-to-hand

transaction occur between the black male and an occupant of the

Jeep Compass. Id. Surveillance units followed the Jeep Compass


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until Springfield Police Officer T. Sullivan conducted a traffic stop of

the Jeep Compass and located a small amount of heroin. Id. at pp.

5–6. Based upon these facts, TFO Lehr believed Defendant and the

unknown black male were selling heroin, and illicit drugs and drug

paraphernalia, weapons, currency, and documents associated with

unlawful drug activity would be found at 1210 N. Bengel Street. Id.

at p. 6.

     In applying for the search warrant of 1210 N. Bengel Street,

TFO Lehr stated he had been a police officer for more than 18 years,

and he had received specialized training in various aspects of

narcotics investigations, including interviewing and surveillance

techniques. Id. at p. 3. TFO Lehr also stated he had conducted or

assisted in numerous narcotics investigations, executed search

warrants, testified in criminal trials, and was familiar with the

methods used in narcotics trafficking operations and trafficking

patterns. Id. Based upon this information, on November 30, 2022,

Circuit Judge Raylene Grischow, in Sangamon County, Illinois,

signed the complaint and a warrant to search 1210 N. Bengel

Street. Id. at pp. 1–2.




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     Officers executed the search warrant on 1210 N. Bengel Street

on November 30, 2022, and seized various items of evidentiary

value. d/e 38, 41. While preparing to serve the search warrant on

the residence, officers observed Defendant leave the residence in a

vehicle. d/e 41, p. 3. Officers stopped Defendant’s vehicle at

approximately 12:27 P.M. Id. At 12:35 P.M., the officers advised

Defendant about the search warrant. Id. At 12:37 P.M., the officers

placed Defendant in the back seat of a squad car, uncuffed, and

informed him that he was not under arrest but was being detained

as part of the investigation. Id. The officers also told Defendant

that he was being taken to the Springfield Police Department

station. Id. At 12:44 P.M., the officers handcuffed Defendant. Id.

At 12:55 P.M., officers conducted an interview with Defendant,

uncuffed. Id. At 1:03 P.M., officers began searching the residence.

Id. From 1:10 to 1:57 P.M., officers seized 10 grams of crack

cocaine, drugs, guns, and additional evidence from the residence.

Id. at pp. 3–4. At 2:08 P.M., officers finished searching the

residence. Id. at p. 4. At 2:52 P.M., Defendant waived his Miranda

rights and agreed to an interview. Id.

                            III. ANALYSIS


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     A district judge reviews de novo those portions of the Report

and Recommendation to which timely objections have been made.

Fed. R. Crim. P. 59(b)(3); 28 U.S.C. § 636(b)(1). The district judge

may “accept, reject, or modify the recommendation, receive further

evidence, or resubmit the matter to the magistrate with

instructions.” Fed. R. Crim. P. 59(b)(3). If only some portions of the

Report and Recommendation are objected to, the district judge

reviews those unobjected portions for clear error. Johnson v. Zema

Sys. Corp., 170 F.3d 734, 739 (7th Cir. 1999). Having reviewed the

hearing transcript, the Report and Recommendation, the parties’

motions and memoranda, and the applicable law, the Court finds

no clear error in the unobjected portions of Judge McNaught’s

Report and Recommendation. The Court reviews the objected

portions de novo below.

     A. The Search Warrant Was Supported by Probable Cause.

     Reviewing courts give great deference to an issuing judge’s

determination of probable cause and should “uphold that

determination so long as there is a ‘substantial basis’ for concluding

‘that a search would uncover evidence of wrongdoing.’” United

States v. Yarber, 915 F.3d 1103, 1105 (7th Cir. 2019) (citing Illinois


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v. Gates, 462 U.S. 213, 236 (1983)). “Probable cause is established

when, based on the totality of the circumstances, the affidavit sets

forth sufficient evidence to induce a reasonably prudent person to

believe that a search will uncover evidence of a crime.” United

States v. Searcy, 664 F.3d 1119, 1122 (7th Cir. 2011).

     The validity of a warrant rests solely on the strength of the

affidavit when an affidavit is the only evidence presented to a judge

in support of a search warrant. United States v. Peck, 317 F.3d

754, 755 (7th Cir. 2003). The issuing judge is tasked with making

a commonsense decision, based on all the circumstances, that

there is “a fair probability that contraband or evidence of a crime

will be found in a particular place.” United State v. Curry, 538 F.3d

718, 729 (7th Cir. 2008).

     Defendant argues that the affidavit supporting the warrant

lacked probable cause as it did not establish a nexus between

Defendant and 1210 N. Bengel Street to support a finding that drug

dealing occurred at this house. Magistrate Judge McNaught found

that the affidavit established probable cause and did in fact

establish a nexus between Defendant and 1210 N. Bengel Street.

The Court agrees with Magistrate Judge McNaught’s determination.


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     Establishing probable cause “does not require direct evidence

linking a crime to a particular place.” United States v. Zamudio,

909 F.3d 172, 175 (7th Cir. 2018) (quoting United States v.

Anderson, 450 F.3d 294, 303 (7th Cir. 2006)). An issuing court is

entitled to draw reasonable inferences about where evidence is

likely to be kept, based on the nature of the evidence and the type

of offense. United States v. Lamon, 930 F.2d 1183, 1188 (7th Cir.

1991) (quoting United States v. Angulo–Lopez, 791 F.2d 1394, 1399

(9th Cir. 1986)).

     In Defendant’s objection, he argues that the Report and

Recommendation incorrectly found that the warrant was supported

by probable cause because the supporting affidavit has no nexus

between the residence and Defendant’s criminal conduct. But this

case is distinguishable from United States v. Yarber, 915 F.3d 1103

(7th Cir. 2019), upon which Defendant relies. There, law

enforcement obtained a search warrant to search two apartments

associated with that defendant, Yarber. Id. at 1104. The

supporting affidavit to the warrant stated that a confidential source

bought cocaine from Yarber on four occasions near the same

intersection. Id. On each occasion, Yarber drove a white Dodge


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Charger, which was registered to his girlfriend. Id. Immediately

after two of the controlled buys, Yarber drove to his girlfriend’s

apartment. Id. The police also surveilled the apartment on three

additional occasions, and all three times they saw the white Dodge

Charger parked in front. Id. On one occasion, the police saw

Yarber exit the Dodge Charger and go inside the apartment. Id.

The affidavit did not state that Yarber lived at the Champaign

apartment or that he stayed overnight at the apartment. Id. at

1105. Instead, the affidavit listed an apartment in Urbana as

Yarber’s residence. Id. The issuing judge found that the affidavit

established probable cause to search the Champaign apartment.

Id.

      The Seventh Circuit held that probable cause existed to search

the Champaign apartment because the search warrant expressly

authorized a search for the proceeds of drug sales, Yarber went

directly to his girlfriend’s apartment after two of the controlled

buys, and additional surveillance tied Yarber to his girlfriend's

apartment and car. Id. at 1106. As a result, it was reasonable for

the judge to infer that “an experienced drug dealer might maintain

cash proceeds from drug sales within the apartment he visited


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immediately after the sales—an apartment rented to his girlfriend

and tied to the car he used to conduct his drug sales—rather than

on his person or in a car.” Id.

     Defendant objects to the Report and Recommendation,

arguing that Yarber stands for the proposition that going to a

residence after selling drugs “does not establish probable cause to

search the residence.” See d/e 45, p. 3. The Court disagrees with

Defendant’s interpretation of Yarber. Although Yarber made clear

that any place to which a suspected drug dealer travels after a drug

sale is not subject to a search, the Yarber Court looked at the

totality of the circumstances. 915 F.3d at 1106.

     Defendant’s reliance on Yarber is misplaced. In this case, the

affidavit connected five alleged drug dealings to 1210 N. Bengel

Street. Two of these alleged drug dealing meetings involved the

Defendant leaving 1210 N. Bengel Street. While the officers did not

observe a hand-to-hand transaction occur between Defendant and

any individual, three of the meetings involved an unknown black

male leaving 1210 N. Bengel Street and conducting hand-to-hand

transactions. This surveillance supports a nexus between 1210 N.

Bengel Street and illegal drug trafficking. The warrant authorized


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the search for illicit drugs and items associated with unlawful drug

activity at 1210 N. Bengel Street. Viewing the surveillance with

TFO Lehr’s experience and training, and his prior experience with

Defendant, based on the totality of the circumstances detailed in

the affidavit, it was reasonable for the issuing judge to believe that a

search would uncover evidence of drug trafficking at 1210 N. Bengel

Street.

     Defendant also argues that the affidavit lacked probable cause

because it did not state who lived at 1210 N. Bengel Street or owned

the residence. The Yarber Court found that the issuing judge could

not rely on the affidavit to draw the inference that evidence of drug

dealing was likely to be found where the dealer lived. See 915 F.3d

at 1106. The supporting affidavit gave no indication that Defendant

lived at the residence. Here, however, 1210 N. Bengel Street was

listed as Defendant’s address according to the parole list.

Moreover, such statements are not required for an affidavit

supporting a search warrant. Affidavits supporting a search

warrant are not required to have direct evidence linking a crime to a

particular place. See Zamudio, 909 F.3d at 175.

     B. In the Alternative, the Good Faith Exception Applies.


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     Even if the search warrant and the supporting affidavit did not

establish probable cause, the good faith exception applies.

Magistrate Judge McNaught found that even if the warrant was

lacking probable cause, the evidence would still survive under the

good faith exception. For the reasons stated below, the Court

agrees with Magistrate Judge McNaught’s determination.

     Evidence seized pursuant to a warrant declared invalid is not

subject to the exclusionary rule if the officers who executed the

warrant relied in good faith on the issuing judge’s finding of

probable cause. United States v. Leon, 468 U.S. 897, 920–24

(1984). An officer’s decision to obtain a warrant is prima facie

evidence that he or she was acting in good faith. United States v.

Searcy, 664 F.3d 1119, 1124 (7th Cir. 2011) (citing United States v.

Otero, 495 F.3d 393, 398 (7th Cir. 2007)). To rebut the

presumption, a defendant must show: (1) that the issuing judge

abandoned his or her detached and neutral role, (2) the officers

were dishonest or reckless in preparing the affidavit, or (3) the

warrant was so lacking in probable cause as to render the officer's

belief in its existence entirely unreasonable. Id.; see also Leon, 468

U.S. at 923.


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     In this case, TFO Lehr obtained a search warrant. See d/e 41,

Ex. 1. Therefore, TFO Lehr is presumed to have acted in good faith.

Defendant bears the burden of proving one of the exceptions to

rebut the presumption in favor of good faith. Defendant argues that

the warrant was so lacking in probable cause as to render the

officer’s belief in its existence entirely unreasonable. See d/e 45, p.

7. Defendant made no claim that the issuing judge abandoned her

detached and neutral role or that the officers were dishonest or

reckless in preparing the affidavit.

     The Court does not find that the warrant was so lacking in

probable cause to render TFO Lehr’s belief entirely unreasonable.

TFO Lehr had knowledge of Defendant’s previous involvement with

drug activity. He also, based on his training and knowledge, as well

as surveillance of 1210 N. Bengel Street, had reasonable belief that

illicit drug trafficking was occurring at the residence. The Court

further finds that Defendant did not carry his burden in rebutting

the presumption that law enforcement acted in good faith. The

evidence seized pursuant to the search warrant is not subject to the

exclusionary rule. See Leon, 468 U.S. at 920–24.




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     C. The Officers Had Reasonable Suspicion to Stop
        Defendant, As Well As Probable Cause to Arrest
        Defendant.

     The Government objects to Judge McNaught’s determination

that the officers lacked a reasonable articulable suspicion that

Defendant had committed or was about to commit a crime. d/e 46,

p. 5. For the reasons stated below, the Court disagrees with

Magistrate Judge McNaught’s determination and finds that the

officers had reasonable suspicion to stop Defendant, as well as

probable cause to arrest Defendant, based on the same information

officers used to obtain the search warrant for the residence at

Bengel Street.

      The Fourth Amendment protects individuals against

unreasonable searches and seizures. U.S. Const. amend IV.

However, “an investigatory stop, which constitutes only a limited

intrusion into an individual’s privacy, is reasonable, and therefore

permissible, if the officer making the stop is able to point to specific

and articulable facts that give rise to a reasonable suspicion of

criminal activity.” United States v. Mays, 819 F.3d 951, 955 (7th

Cir. 2016) (quoting Terry v. Ohio, 392 U.S. 1, 21–22 (1968)) (cleaned

up). Reasonable suspicion requires “more than a hunch,” but need


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not rise to the more demanding standard of probable cause. Gentry

v. Sevier, 597 F.3d 838, 845 (7th Cir. 2010). “When determining

whether an officer had reasonable suspicion, courts examine the

totality of the circumstances known to the officer at the time of the

stop, including the experience of the officer and the behavior and

characteristics of the suspect.” Mays, 819 F.3d at 955 (cleaned up).

The evaluation of the circumstances is “based on common-sensical

judgments and inferences about human behavior.” United States v.

Baskin, 401 F.3d 788, 791 (7th Cir. 2005) (quoting Illinois v.

Wardlow, 528 U.S. 119, 125 (2000)). “A Terry stop based on

reasonable suspicion can ripen into a de facto arrest that must be

based on probable cause if it continues too long or becomes

unreasonably intrusive.” United States v. Bullock, 632 F.3d 1004,

1015 (7th Cir. 2011).

     Police may arrest an individual if they have “probable cause to

believe that the individual engaged in criminal conduct,” and “an

arrest supported by probable cause is reasonable by its very

nature.” United States v. Burnside, 588 F.3d 511, 517–18 (7th Cir.

2009). In order for probable cause to exist, “law enforcement

agents must reasonably believe, in light of the facts and


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circumstances within their knowledge at the time of the arrest, that

the suspect had committed or was committing an offense.” United

States v. Biggs, 491 F.3d 616, 620 (7th Cir. 2007) (quoting Payne v.

Pauley, 337 F.3d 767, 776 (7th Cir. 2003)). Probable cause “is a

fluid concept that relies on the common-sense judgment of the

officers based on the totality of the circumstances.” United States

v. Reed, 443 F.3d 600, 603 (7th Cir. 2006). “In determining

whether suspicious circumstances rise to the level of probable

cause, officers are entitled to draw reasonable inferences based on

their training and experience.” Id.

     The Government argues that the information in the affidavit

for the search warrant provided reasonable suspicion that

Defendant engaged in illegal activity, as well as probable cause to

arrest Defendant. d/e 46, p. 5. The Government opted to focus on

the existence of probable cause, because then the issue of

reasonable suspicion is rendered moot. Id. The Government

argues that TFO Lehr’s training and experience, as well as

surveillance of 1210 N. Bengel Street, provided probable cause for

law enforcement to believe that the Defendant was involved in illicit

drug activity. The Court agrees that officers had probable cause to


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arrest Defendant. As a result, the Court focuses its analysis on

probable cause, not reasonable suspicion.

     The information contained in the search warrant also

established probable cause to arrest Defendant. Under the totality

of the circumstances, officers had probable cause to stop Defendant

in his car. When the officers stopped Defendant, officers had

reasonable belief that Defendant was engaged in drug activity from

the Bengel Street residence. Defendant was the subject of TFO

Lehr’s surveillance and his association with the Bengel Street

residence led to a finding of probable cause for the search warrant.

Defendant was recently released from the Federal Bureau of Prisons

and was affiliated with a previous narcotics investigation in which

Defendant was found in possession of heroin. TFO Lehr’s

surveillance of Defendant also revealed that, based on TFO Lehr’s

experience and training, Defendant engaged in activity consistent

with drug trafficking. Defendant briefly visited a home in which a

resident overdosed on heroin. Defendant’s suspicious activity upon

leaving the Bengel Street residence on two occasions and the

observation of the unknown black male in three hand-to-hand drug

transactions (including a finding of heroin during the third


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transaction), viewed in light of TFO Lehr’s training and experience

supported the reasonable inference that Defendant was engaging in

drug-dealing activity. At the time of the stop, officers had probable

cause that Defendant was and had been engaged in criminal

activity. Officers, therefore, could arrest Defendant before the

search was underway. See Bullock, 632 F.3d at 1014 n.1 (noting

that “a good argument could have been asserted that the officers

had probable cause to arrest Bullock for drug distribution even

before the stop based on the same information officers used to

obtain the search warrant for the residence.”).

     As a result, evidence obtained as to the search of the

Defendant, his vehicle, and statements made by Defendant after he

was detained on November 30, 2022, are admissible.

                          IV. CONCLUSION

     It is, therefore, ORDERED:

     (1)   The Report and Recommendation of United States

           Magistrate Judge McNaught (d/e 44) is ACCEPTED

           and ADOPTED in part and REJECTED in part.




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    (2)   Defendant’s Objections to the Magistrate Judge’s

          Report and Recommendation (d/e 45) are

          OVERRULED.

    (3)   Government’s Objections to the Magistrate Judge’s

          Report and Recommendation (d/e 46) are

          SUSTAINED.

    (4)   Defendant Johnell Smith’s Motion to Suppress (d/e

          38) is DENIED. The Motion to Suppress is denied as

          to the evidence found at 1210 N. Bengel Street

          pursuant to the issuance of the search warrant, the

          detention of the Defendant, the search of his vehicle,

          and any statements made by Defendant after he was

          stopped in his car on November 30, 2022.


IT IS SO ORDERED.
ENTERED: April 30, 2024.
FOR THE COURT


                          /s/ Sue E. Myerscough
                          SUE E. MYERSCOUGH
                          UNITED STATES DISTRICT JUDGE




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